  CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 1 of 10




                       UNITtsD STA'IIDS DISTBIGT COIJAT
                          DISTruCT ON'MINNESOTA
                           Case No. 20-or-140 (SRIQ

UNIISD STATDS       OF A[dEruCA,

                     Plaintifl                     PI,EAAGBEEMNNT AI.ID
                                                   STII.ITENCING STIPIILATI oNS
       v.

FONNAI.{DOUS OOBTSZ IIENDERSON,

                    Dsftndant.

      Tho Unitsd States ofAnerica anrtFonandous Cor*oz Henilerson (hereinafter,

the ,Dsfenctant) agreo to regolve this oas on the tsrms and condrtions that follow.

flis plea agrosment binde only the Def€ndant anil the United Sbatee Atbornet'e
Of6ce for tha Disbiot of Mlnnssota. This agmement dosg not bind any other Uniteit

Statee Attorney'e Ofrss or a,ny othel fetlsral or stafe agency

      1.     Chalees. The Desndaatvoluntarily aglees to plead suiltr to Count          1


of the Information, which ehargea tho Deftndant with    Aidng and Abstting Anon of

Pmperly UBed in or Afrcting Intsrstate Commero, in violation     d   18 U.S.O. $$ 2 antt


844(i). the United States agross ftat it will not charge the Deftndant with other

crimes relatsd to tho oontluat eet Srth herEin

       Z,    Fiotual Basls. By pleadias edlty,     the Deftndant ailmits the following

facts are tuue antl ffuther admits thab were this mattor to go to hial" the      Udbil
States would prove these facts beyoud a reassrable itoubf,

             a.     At all relovad times, ths Desnclant was a :peidsnt of anil rssideil
                    in the stabe and Diabiot of Minneeota. The condust tlescribed
                    herein tookplace in the State antl Dietrict dMinaesota.




                                                                            AUG   g 1 2020

                                                                      U.S. DISTRICT COURT
                                                                                          ST PAUL
CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 2 of 10




       b.    OnoraboutMayZg,?fJh},tbeDefenitantandGarrettPahiok
             Zr.eio ft6'Co.ieg"du"g'), eaoh aiiltng anil abetting the other,
             t";";A;lly antt malicio"gy aa-"gtil, br meano of ffre antl
                       ;terials,   ths Dakoto County.Western Sqvise Osntor
             "ral"rk
             affi--Ttrg61 1oo6"| at 14966 Galaxio
                                                    Avenue in Appla Valley,
             lvllnnesota.

             The Defonilant chom the WSC as a target- lecauee- he
                                                                  had
                                                                       becaues
             nreviouslv made oorr0 sppearan&s at that butftling and
             i" ,"Jh"      Co.defondint wsrc genera11y      ansry  with    law
             r"toi*-""t regariling tho rooent cleath d Gloorge Floyil'

             To perpetnab the Mav 29-, 2029 {ta* on the WSg the
             O.fJo-Ji"t, wittr assistanca ftom the Godefendalt, oonstrustod
             iJtpf"    fViolomv coo6aile, [hat is, contalnen" fflled with ienitable
             Itq;d;;.     of *hi"h afuo containetl' eharp objects' such            as
             puehpins-anit awi*.

             IntbgearJymominghourtofMay29,2020,t,heDefenclantaacl
                  -o-a*i"aant broks multiple windows at the wsc ueiag
             tu"
             buddl b"tt. Wtth aesistancs andinsuppo,rt                A"g 9"- 9*
                           the Debnrlant thsn tihrevt
             a"ru"i"k,'srt""                                  multiple'  lit &lolotov
             ;d.btl"             of theso devicse  suaoossflrlly igniled lld 3o*d
             8"" c"."ilto tn" WSc. The Deftualanq along wtt'h ths the             9{'
             a"g"d""t           stsrtoal anit attemplntL to etart other fr€s at
             WSCbt pouring "Lo ignitable liquids' and-thmwine unlit Molotov
             *ottuii",-io and around tbs broksn winilowB, thea attempting to
              star0 the fluiils on flre.

             Ii,osponiting ofrcers quic'kly e{nguis. UeA the ffres
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              ii#**,     tn Defsnttauf,e ittaot triggered      the  spl'kljlgJrutum
              *Jit  ni&ta Eigdfioant ffrc antt watei                !o tbe !VSC'
                                                         'tamaee
                                                                                   an'[
             Prsviously, on or about May 27,2!U9, the De$nilaut' aidsd
                                                                               using a
              liffiJ$     th" Co-clefendanl, s,irnttarty attae,ked.  the WSC
              dl"t""   .'o"ftuU. The Debnilant tbrsw a single Molotov crylttai-l
              ;;ri".t ift" Udldioe, which-igni^t9-4 b"l burneil out without
              ;*id dgnlfca* Ainaee.      Ihs failure of this firut atta'k was a
              ;"d"fid i"otor for the-second attaok on tho WSC on or about
              May29,2020.

        h.    At the time of she ffres, the WSC was used in intustato and'
              l;;il; *t"r*. Ttat'is to say, tleor
                                                   WfChoussd agoncies and
                                                  trads taking placs botwesn
              o-re;Luuo"" involvedin business
 CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 3 of 10




                     peoplo ox orrdties logabd                    states, anil betweon
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                     p"oiif. aacl entitiee tn the Uniisd Statos and other ootmhies.
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                                                               of Pubtio llealth; anit
                           ru*r;   the Daiota counry
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                      Dakota CounW ftansit and Traneportation              Offices'

               WalvgrQflndlohngut.l,heDefendantwalvestheriehttobecharged

by   Iudicbent.    The Defendant agrsss to sign a writtsn      waiwr of ths right at tho

ohango ofplea hearing.

       4,      waiver of Pretrlal Motions.        The DeftntlantuutlsrEtanils and agrroos

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that the Defundant has osrtain rights to filo pre'trial rnodons
                                                 of ths Unifpd fltates' 0he             Debntlant
tfuis Agroomoutr ancl baeoilupon the conoessions

                                                                    flls   and litigato   pra'hial
knowingly,    wiililgly,   antl voluntarily gives up the right to

motions in this oass.

               waiver of consdtudonal Trtal [ll{5ts.          1}re Deftndant uuderstanils
        6,
that hs hae the right to plead. not euilty and go to bial.
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be presumed" innocent, have        ihs dght to a jrry trial or, in certain sircuestancos' to

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bial by tihe court, tho right
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defenee, the    rieht to testi$ and pleseut eYiilence, anil tlre right to be

              eelf-inqrimination. By pleadine guitty, the Defrnilant
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compollecl.

 and voluntarily waives eaoh of theee dghts, oxc'ept
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  CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 4 of 10




Desnatart undemtande that by ploaitlng euiltn he is
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court acepte the gdlty plsa, the Defendant will bs adiuilged suiky

      6,CollatoralConseouonoes.,IheDeftnilantundergtandstlratasa
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result of his conviction, ho could bs asssessd the coats
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aitititionql oonsequenose, suoh as the loss of the right

vote, the right to hold publio ofrce, and tho
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       7,     $tntutorv Pqnaltlps.' Tho parties agree that Count 1 of                      fhe


Information e:riee the following s[atutory penaltiee:

              a.     a manclatory    mini6u6   of 6 years'imprieonmenB

              b.     a madmum of 20 yeard imptisonmsnq

              c.     a eupsrvised'release   tem ofup to B years;

              il.    a   ffne of uP to $250,0d0;

              e.     manilatorY restitutioq atrd

              {      a   mandatory epocial assesemont of $100'

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 Defenilant will be sentonced in aocordance with    18   u.s.c.   $ s661,   et   aeq' Notbing   !r
                                                 the parties ft'om presenting any and
 this plea agreonent should.be consbued.to limit
                                                      parties also ad(Ilowloilge t'hat
 all rslovant widence to the Court at seutencing. Tho
                                                       Guidslirxes in cletermindng t'lle
 the Court will consider the Uniteil States Sentencing
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 appropriate geulgncg and stipulate to the followilg

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                    i,r-za u"---*"ru
                    destruodon of a d;to or government frcility.
                                                                       u.s.s.G.
                    $ sK.a(axl).
CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 5 of 10




                                                               of responsible'
       b.    Chgpter8 Adiugtments. Other than accoptance
                                                               3 Adiuetments
             ffi,             th" p""ti"" ag1w that no Cthapbr
             apply to this natten

             Aceptance      of   B,egnons.ibi$qt.   The goYernment agrees to
             ;ffi                         receive a 8-lsvel reduction for
             ;;&;-"i;"tp"neibilitv arul t9 n3ke. anv appmpriateandmotiong
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             *d    t""tf,ru ir$"t"dot io       t'he Probation
             ;.;;; inwsttgatioa, and (iii)acooptance
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              conviotion, afinn, oaniss i ffve year (60 month)  mandatory
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              U,S.S.G. $ 6D1.2(aXz).
  CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 6 of 10



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      0.       Sentenolng ,Adyqo.apy Agrqspgntp                 anil Llmltaffons'             When       I




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                          Ths parties jointly reoomnend that
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           10.                                                  ' tts Dsbnilant unileretands
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 tbat ifhs violates any conditiou ofeuperviseil
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  relea6e, orldectto t'he statutor,'
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           11,      Dlscretlon of the Court' The hregoing sbpulations

  alebinttingonthepartios,butitouotbind'tfiecoud.lhepar|;iesuuilersta[ilthat
                                                              is a matto3 uhat falts
  the Sentenoiuecluidaltnes ale adviery anil thsh applicatlon

  solelywithintheCorrrBedigcrstion.TheCourtmaymakoitsowniletgnmination
  CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 7 of 10




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regalaling the applioable clddelines &stors

categony.lheoourtmayalsodepartaniUorvafyftomtheapplicableGuidelinge
                                                  Gulitslines caloulations or the
lango. ff the court determines that the appucablo
            criminaf bigbory category are ditrrsnt &om
                                                          t'hat stats'l above' the
Defendanf,s
                                              antl the Ds&uitant wilt be mntgncgd
partios may not withdraw ftom this AgTeement,

pursuant to the Counf,s deteminadono'

       l2,speaialAsqessment.TheGutdelinesrequirepaymentofaepocial
              in the amount of $100.00 for   each folony counl of which he fu convicoBd'
assessmenf
                                          pay the gpedal aesessment which is tlue
U.S.S.G. $ 681.8. The De&nclant agroos to

 and paYablo uPon eentencing'
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       1S.
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 understands his dgbf, pruouant to Feileral
                                         to publio hsalt'h consiilsrations lotateit
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 his ploa hearing in oourt. Eowwsr, iluo

 COYID'19, ihs Defeudant cous€nts to
                                       his plea hoaring beilg held via vlileo-

                     The unltstt states sinilarly consents to
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 via VTC.

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 cass aud that the   court is requiredto oriler ths Debn'tant to
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  bscause the prociee amount of restihrtion

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  CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 8 of 10




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      ltrs Dsfsn'tant understanils anil
                                                     of whether ths Yictim was namoil
regtitution to any vrotirn of hie ofrnso, regardlees
                                             or thisAgreement' The Defen'lant
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ag"eos to pay resdtution bo his   vistins, in the amount detsrminedby the couxc

ag ordered.

       Iho    Defenil,ant roprosents   that he will fdry and oompletely ilis0lose to the
                                             and looation of any assets in whlch the
Unitoal States Attorno/o Offloe tbs eristene
                                                ths Deftnilant   agrees to aaeist the unibed
Dsfenalant has any right4 title, or iDtsteet,

Stateeiniilentiffilslocating,returning,andtransftEingassetsforusginpayment
                                                  As part of this Agresment, the
of rostit'tion and fines orderoil by t*re Court.
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Defendant    will conplete, undor ponalty of perjury, a ffnanoiat
 provictecl by the uniteal stBt€s-usting        all the Defen'lanfs asssts anil flnansial

 intsrssts valued at more lihan $1,000. fhe
                                            Dsftndant agreeo to proviile uptlates nith

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  ary material changes in sirsuostanses! a8 itegcribeil
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        16.Forfelture.IbeDefrnttantagrcestoforftittotlrgUnits.lstst€s,
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                                         844(c) anrt 28     u.s,o,   $ 2461(s), any expl'osivo
  and g44(0, and pursuant to 1g u,S,c. $
  CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 9 of 10




                                                  usetl, in that violation' lrhe uniteil
materials involved, or llged" or intontteiL to be
                                                         {br&itrrre, to frrbit substitute
states roseflrsB tts riebt to ssek a money iuilgment
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aslgt8, and to forfeit any adititional directly fod€itable

        16.    Waivers       of Altpeal and 0otrPteral A$ack'           The Defentlaut

understands that 1E u.s.c, $
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i-Foecct in thie case. Aoknowloilgrng this nght, and in
                                                         all defonme antl hie right to
by the United, Statee, ths Dofeni|ant hereby waives
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appeal any non.jurisdiotional ieeues, inclutti"'E
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he receivea is uot groater than 8? months

waiveg, to t,}re fulI extont of t'he law, his
                                              risht to appeal any agsessnent, forbiture, or

reetitution order assoaiatetl with bis ssntencs'
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         The unitoit states waivos the right to appeal

 as   that gsntence inolutles 70 months or sore of lmprieonment'

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 CASE 0:20-cr-00146-SRN Doc. 32 Filed 08/26/20 Page 10 of 10




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        18.   oomnlete Agrsement. Tbis, and any agreemente slgnsil by the

partleo bsfore enhy of tlhe plea, ie the eutire agreomonf antl uudenstariting betrnsen

the Unitsdstates anil the Do&uclant Oner than tbie Ageement, ths Deftndant
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aoknowledges that no throabe, promisoe, or representations have oauged him

guilqf. lhe Defenitant hae ruail this furcement and oarofully roviewod eaoh pmvision

n'tth hi6 attorney. llhe Defenatant ftrr0hor aolmowledges that he uade$tantls and

voluntarily aaoepts each tern and condltion qf t\is dgreement'




                                                  ERICAH. MacDOI'tr4[.D
                                                  Udtsd StatesAttomeY


Date:     ?/ Fot zout
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Datlt   Q7'98'?#?4


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